Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 1 of 20 Page ID #:385
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 2 of 20 Page ID #:386




                                                                      EXHIBIT 2
                                                                      PAGE 9
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 3 of 20 Page ID #:387




                                                                      EXHIBIT 2
                                                                      PAGE 10
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 4 of 20 Page ID #:388




                                                                      EXHIBIT 2
                                                                      PAGE 11
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 5 of 20 Page ID #:389




                                                                      EXHIBIT 2
                                                                      PAGE 12
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 6 of 20 Page ID #:390




                                                                      EXHIBIT 2
                                                                      PAGE 13
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 7 of 20 Page ID #:391




                                                                      EXHIBIT 2
                                                                      PAGE 14
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 8 of 20 Page ID #:392




                                                                      EXHIBIT 2
                                                                      PAGE 15
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 9 of 20 Page ID #:393




                                                                      EXHIBIT 2
                                                                      PAGE 16
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 10 of 20 Page ID
                                  #:394




                                                                    EXHIBIT 2
                                                                    PAGE 17
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 11 of 20 Page ID
                                  #:395




                                                                    EXHIBIT 2
                                                                    PAGE 18
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 12 of 20 Page ID
                                  #:396




                                                                    EXHIBIT 2
                                                                    PAGE 19
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 13 of 20 Page ID
                                  #:397




                                                                    EXHIBIT 2
                                                                    PAGE 20
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 14 of 20 Page ID
                                  #:398




                                                                    EXHIBIT 2
                                                                    PAGE 21
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 15 of 20 Page ID
                                  #:399




                                                                    EXHIBIT 2
                                                                    PAGE 22
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 16 of 20 Page ID
                                  #:400




                                                                    EXHIBIT 2
                                                                    PAGE 23
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 17 of 20 Page ID
                                  #:401




                                                                    EXHIBIT 2
                                                                    PAGE 24
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 18 of 20 Page ID
                                  #:402




                                                                    EXHIBIT 2
                                                                    PAGE 25
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 19 of 20 Page ID
                                  #:403




                                                                    EXHIBIT 2
                                                                    PAGE 26
Case 2:10-cv-09939-DDP-FMO Document 29-1 Filed 03/28/11 Page 20 of 20 Page ID
                                  #:404




                                                                    EXHIBIT 2
                                                                    PAGE 27
